Case 1:14-mc-00141-P1 Document 2 Filed 05s 0 Page O

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

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IN THE MATTER OF STANDARDIZING
DATES FOR THE PREPARATION OF : STANDING ORDER
PRE-SENTENCE INVESTIGATION REPORTS _ : NO.
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At its April 23, 2014 meeting, the Board of Judges of the Southern Disteet of?

Investigation Reports. This Standing Order sets forth that time-table, which will become ©

effective on June 2, 2014:

(1) Unless individual circumstances warrant a variance, on the day of a guilty
plea or verdict:

a. The judge will (i) direct defense counsel to promptly schedule with the
Probation Department a Pre-Sentence Interview of the defendant
within fourteen days and (ii) direct the Assistant United States

Attorney to submit the prosecution case summary to the Probation
Department within fourteen days;

b. The courtroom deputy will notify the Probation Department

electronically that a Pre-Sentence Investigation Report needs to be
prepared for the defendant;

(2) Within twenty-eight days of the plea or verdict, the Probation Department will

complete its Pre-Sentence Interview of the defendant or notify the judge why
it was unable to do so;

(3) Fifty-five days after the plea or verdict, the Probation Department will make
its initial disclosure of the Pre-Sentence Investigation Report to the parties;

(4) Within fourteen days of the initial disclosure, the parties must provide the

Probation Department with any objections to the Pre-Sentence Investigation
Report;

 
 

 

 
Case 1:14-mc-00141-P1 Document 2 Filed 05/30/14 Page 2 of 2

 

 

 

 

(5) Twenty-eight days after its initial disclosure, the Probation Department will
make its final disclosure of the Pre-Sentence Investigation Report to the
parties and the judge; and

(6) The time-table for preparation and completion of Pre-Sentence Investigation
Reports is summarized as follows:

 

 

 

 

 

 

 

 

 

Action Date Completed

Guilty Plea or Verdict and Electronic Notification to Probation Day 1
Pre-Sentence Investigation Interview Scheduled and

Prosecution Case Summary Submitted Day 14
Pre-Sentence Investigation Interview Completed Day 28
Initial Disclosure of the Pre-Sentence Investigation Report Day 55
Objections by the Parties Day 69
Final Disclosure of the Pre-Sentence Investigation Report Day 83

 

 

 

Dated: May af 2014
New York, New York

SO ORDERED:

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LORETTA A. PRESKA —
Chief Judge
